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AO 91 (Rev. 11/11) Criminal Complaint

 

 

UNITED STATES DISTRICT COURT ae

for the
Southern District of Texas
; Seid 4
United States of America ~ Sate
Vv. Gang

Jose Luis RODRIGUEZ-Diaz and
Raul ADAME-Trevino

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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 1, 2019 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description

21 USC Section 846, 841 (a)(1) and Knowingly, intentionally, and unlawfully possess with intent to distribute over
(b)(1)(A)(ii) 5 kilograms of cocaine and conspiracy to possess with the intent to distribute
over 5 kilograms of cocaine a Schedule II controlled substance.

This criminal complaint is based on these facts:

Attachment A

@ Continued on the attached sheet.

 

Complainant's signature

Ariel Ferrer, DEA Task Force Officer

 

Printed name and title

Sworn to before me and signed in my presence.

 

Date: 08/02/2019 LA.
Leo

City and state: Houston, Texas Ze Johnson,U.S. Magistrate Judge

 

Printed name and title
 

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Attachment “A”

Your affiant, DEA Task Force Officer Ariel Ferrer, being duly sworn, deposes and states the
following:

I am a Task Force Officer with the Drug Enforcement Administration (DEA), United States
Department of Justice, and as such I am empowered under Title 21, United States Code, Section
878, to enforce Title 21 and other criminal laws of the United States, to make arrests and obtain
and execute search, seizure, and arrest warrants. I am currently employed as a Houston Police
Officer with the City of Houston and have been so employed for the past three (22) years. I am
currently assigned as a Task Force Officer to the DEA Houston Field Division and have been
assigned there for approximately 7 years. In connection with my official duties, I investigate
criminal and civil violations of the Controlled Substances Act. I have received special training in
the enforcement of laws concerning controlled substances as found in Title 21 of the United States
Code. In connection with my duties and responsibilities as a law enforcement officer, I have
frequently testified in judicial proceedings for violations of laws concerning controlled substances.
I have participated in numerous drug trafficking investigations, including investigations that have
resulted in felony arrests for violations of Title 21 of the United States Code. I have been involved
in various types of electronic surveillance, in the execution of search and arrest warrants, and in
the debriefing of defendants, witnesses and informants, as well as others who have knowledge of
the distribution and transportation of controlled substances, and of the laundering and concealing
of proceeds from controlled substance trafficking.

I am making this affidavit in support of a Criminal Complaint to be presented to the United States
District Court, Southern District of Texas, establishing probable cause for the arrest of Jose
Rodriguez-Diaz and Raul ADAME-Trevino. This criminal complaint charges that Rodriguez and
ADAME conspired with others to possess with the intent to distribute cocaine in violation of Title
21, United States Code, Sections 841 (a)(1), 841(b)(1)(A) (ai), and 846. I base the information outlined
in this affidavit on personal observations and knowledge, information related to me by other sworn
agents and law enforcement officers, and my training and experience in the investigation of narcotics
trafficking. The facts set forth in this affidavit are not the only facts know to you affiant, they are
only facts set forth by your affiant for the limited purpose of establishing probable cause for arrest.

On Wednesday, July 17, 2019, TFO Ariel Ferrer acting in an undercover capacity and a CS met
with targets RODRIGUEZ and ADAME. In the meeting, TFO Ferrer informed RODRIGUEZ and
ADAME that he (UC) was looking to purchase 50 kilograms of cocaine. In the meeting,
RODRIGUEZ wanted the UC to purchase half a kilo of cocaine to confirm that the UC was not a
police officer.

On Thursday, July 25, 2019, TFO Ferrer acting in an undercover capacity made a purchase of 2
ounces of cocaine from RODRIGUEZ. During this meeting, the UC discussed purchasing 50
kilograms of cocaine for $26,300.00 per kilogram. It was discussed that RODRIGUEZ and
ADAME would have 50 kilograms of cocaine at 4731 Old Spanish Trails East Dr., Houston,
Texas. RODRIGUEZ advised that he would allow the UC and the CS to observe and test the 50
kilograms of cocaine inside the garage at the above listed location.
 

 

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On Thursday, August 1, 2019, TFO Ferrer, acting in an undercover capacity, spoke with
RODRIGUEZ and ADAME via cell phone. RODRIGUEZ and ADAME told TFO Ferrer they
would conduct two transactions of 25 kilograms at a time. ADAME provided the address of 4731
Old Spanish Trail East Dr., Houston, Texas where the drug transaction. would be conducted. TFO
Ferrer agreed and informed RODRIGUEZ and ADAME that TFO Ferrer would have one of his
workers (a documented DEA CS) drive to the location and inspect the product for authenticity.
RODRIGUEZ and ADAME agreed.

The CS arrived and went inside the location. The CS called TFO Ferrer and informed him that
RODRIGUEZ and ADAME retrieved two black sport bags form the trunk area of a vehicle parked
inside the garage. The CS took a picture of the two sport bags containing 25 kilograms of cocaine
and texted the picture to TFO Ferrer via cellular telephone. The CS called TFO Ferrer and
confirmed that the 25 kilograms of cocaine were inside the garage. Authorities drafted a State of
Texas search warrant for said location.

Authorities arrested both RODRIGUEZ and Raul ADAME and transported them both to DEA for
booking processing.

The gross weight of the cocaine was approximately 31 kilograms. Authorities also seized several
firearms at the location. AUSA Jimmy Leo was contacted and agreed to the federal prosecution
of RODRIGUEZ and ADAME. Based on the foregoing, your affiant respectfully submits that
probable cause exist to believe that TREVINO and RODRIGUZ-DIAZ has committed a violation of
Title 21 U.S.C. Sections 841(a)(1), 841(b)(1)(A)(i1), and 846, specifically, conspiracy to possess with
the intent to distribute cocaine, a Schedule IT Controlled Substance.

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Adél Ferre”
Task Force Officer
Drug Enforcement Administration

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Sworn to and subscribed before me on this ot day of August 2019, and I
hereby find probable cause.

 

N&ncyK. Jobson
United Stétes Magtrate

Southern District of Texas
